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U.S. COURTS
DANIEL w. CMNDALL, Pro se JUN 3 0 2010
18 Crossbow Rd, Garden Valley, Idaho 83622 now F.| d .
CrandalllO@frontier.com EL|ZA|BeETH A Sllil-i`|ql]-|e
Phone: 208-608-5017 ' cLERK, DlSTRlci oF lDAHo

UNITED STATES DISTRICT COURT
OF THE DISTRICT OF IDAHO

Daniel W- Crandall_ , ) civil Acrion No.: 10-CV-0127
Plamtlff

vs. )
Hartford Casualty Insurance Company and MOTION TO AMEND SCHEDULING

Hartford Steam Boiler Inspection & Insurance) ORDER
Company
Defendants

Plaintiff, Daniel W Crandall, respectfully files this MOTION TO AMEND SCHEDULING
ORDER. Despite extraordinary efforts at great expense, Plaintiff cannot effectively meet the deadline for
the JOINDER OF PARTIES & AMENDMENT OF PLEADING CUTOFF DATE of June 30, 2010
because Defendants have stone-walled on the discovery requests, which Will necessitate Plaintiff making
and securing motions to compel. Discovery in this case is expected to be extensive and time-consuming
as Defendants have already produced nearly two thousand pages of documents, but a large portion of the
hay-stack package was the wrong policy and duplicative emails, forms, etc. in a mish-mash. Some pages
had been cut-off during photocopying and are therefore incomplete, particularly the reinsurance contract

between the Defendants.

Defendants revealed very little of the substantive evidence in response to Plaintiff’ s discovery
requests until the deadline and what they did reveal was that the initial disclosures, as respects the
involvement of certain “home office” decision-makers, whose actions loomed heavy on this case was not
initially disclosed. Therefore, Plaintiff’s necessarily needs additional time to secure critical discovery in
order to fully understand the elements of known and unknown claims by motion to compel, which may

narrow the number of witnesses and evidence to be presented; all of which, constitutes good cause.

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An extension is thereby requested so that Plaintiff can come to grips with the discovery already

produced and compel other critical discovery that Defendants have employed objections in design of

“form over substance”. For the reasons set forth above, Respondent submits that they have demonstrated

good cause to amend the scheduling order. A proposed amendment to the scheduling order has been

attached.

Respectlully submitted

D;.M,).W

DAN[EL W. CRANDALL, Pro Se

18 Crossbow Rd, Garden Valley, Idaho 83622
CrandalllO@ii‘ontier.com

Phone: 208-608-5017

Daied this 29“l day of June, 2010.

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UNITED STATES DISTRICT COURT
OF THE DISTRICT OF IDAHO

Daniel W. Cl‘alldall ) Civil Action No.: 10-CV-0127
Plaintiff ) CERTIFICATE oF sERvICE
VS. )

Hartford Casualty lnsurance Company and Hartford
Steam Boiler Inspection & Insurance Company
Defendants

On the 29th day of June 2010 I, DANIEL W. CRANDALL, Plaintiff Pro Se, served the within
MOTION TO AMEND SCHEDULING ORDER and ORDER TO AMEND SCHEDULING ORDER on
the following attorney of record by email to lch@moffatt.com pursuant to mutual written consent of
FRCP, a true copy thereof to:

Mr. Larry C. Hunter, of the firm
Moffat, Thomas, Barrett, Rick & Fields

P.O. Box 829
Boise, l]) 83701

This 29th day of June, 2010

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